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                IN THE UNITED STATES DISTRICT COURT 

             FOR THE WESTERN DISTRICT OF PENNSYLVANIA 



UNITED STATES OF AMERICA,               )
                                        )       Criminal No. 12-288
                 v.                     )
                                        )       Judge Cathy Bissoon
CHRISTINE ANN KEBR,                     )
                                        )
                 Defendant.             )


                                        PLEA

                 AND NOW, this 6th day of December, 2012, the Defendant

          in the above entitled case, Christine Ann Kebr, pleads guilty in

          open court to Count I of the Information.




                         (Defendant'S Signature)




                         (Attorney for Defendant)
